           Case 1:95-cr-05111-JLT Document 602 Filed 02/23/17 Page 1 of 1



 1
                               UNITED STATES DISTRICT COURT
 2
                                 EASTERN DISTRICT OF CALIFORNIA
 3

 4    UNITED STATES OF AMERICA,                          CASE NO. 1:95-CR-05111-LJO
 5                          Plaintiff-Respondent,
                                                         ORDER SETTING BRIEFING SCHEDULE
 6           v.
 7    LARRY DANIEL HARRIS,
 8                          Defendant-Petitioner.        (ECF No. 600)
 9

10          On June 22, 2016, Petitioner Larry Daniel Harris, through the Federal Defender’s Office,
11   filed a motion to vacate, set aside, or correct his sentence pursuant 28 U.S.C. § 2255 (ECF No. 600),
12   raising issues related to Johnson v. United States, 135 S. Ct. 2551 (2015), and Welch v. United
13   States, 136 S. Ct. 1257 (2016). Petitioner simultaneously filed an application to the Ninth Circuit for
14   leave to file a second or successive § 2255 motion. (ECF. No. 600.) On February 21, 2017, the Ninth
15   Circuit granted Petitioner’s application to file a second or successive § 2255 motion. (ECF No. 599.)
16   Accordingly,
17          IT IS HEREBY ORDERED that the Government shall file a response to Petitioner’s § 2255
18   motion within 30 days (on or before March 24, 2017). From the date of the Government’s filing,
19   Petitioner shall have 30 days to file a reply.
20
     IT IS SO ORDERED.
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22      Dated:      February 23, 2017                       /s/ Lawrence J. O’Neill _____
                                                      UNITED STATES CHIEF DISTRICT JUDGE
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